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    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                    Filed: June 8, 2017

* * * * * * * * * * * * * *
MICHAEL FERG as personal                      *      No. 16-1285V
representative of the Estate of Sarah         *
Morcos,                                       *
                                              *
               Petitioner,                    *      Special Master Sanders
                                              *
v.                                            *
                                              *      Joint Stipulation on Damages; Influenza
SECRETARY OF HEALTH                           *      (“Flu”) Vaccine; Transverse Myelitis
AND HUMAN SERVICES,                           *      (“TM”); Death.
                                              *
          Respondent.                         *
* * * * * * * * * * * * * *

John R. Howie, Jr., Howie Law, PC, Dallas, TX, for Petitioner.
Heather L. Pearlman, United States Department of Justice, Washington, DC, for Respondent.

                                           DECISION1

        On October 6, 2016, Michael Ferg (“Petitioner”), on behalf of the estate of Sarah Morcos,
petitioned for compensation pursuant to the National Vaccine Injury Compensation Program.2
42 U.S.C. §§ 300aa-10 to -34 (2012). Petitioner alleged that, as a result of an influenza (“flu”)
vaccine administered on October 11, 2013, Ms. Morcos developed transverse myelitis (“TM”)
and subsequently died due to her alleged vaccine-related injury. Stipulation, ECF No. 31.

       On June 8, 2017, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation to Petitioner. Id. Respondent denies that the influenza
vaccine caused Ms. Morcos to develop TM or any other injury, and further denies that the
1
 This decision shall be posted on the United States Court of Federal Claims’ website, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), a party has 14 days to identify and move to delete medical or other information that
satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a
motion for redaction must include a proposed redacted decision. If, upon review, the
undersigned agrees that the identified material fits within the requirements of that provision, such
material will be deleted from public access.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42
U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act,” “the Act,” or “the Program”). Hereafter,
individual section references will be to 42 U.S.C. § 300aa of the Act.
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vaccine caused her death. Id. at 2. Nevertheless, the parties agree to the joint stipulation,
attached hereto as Appendix A. The undersigned finds the stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

        The parties stipulate that Petitioner shall receive the following compensation:

                  [A] lump sum payment of $300,000.00, in the form of a check payable to petitioner
                  as conservator/legal representative of Sarah Morcos’ estate. This amount
                  represents compensation for all damages that would be available under 42 U.S.C. §
                  300aa-15(a).

Id. at ¶ 8.

      The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

        IT IS SO ORDERED.

                                               s/Herbrina D. Sanders
                                               Herbrina D. Sanders
                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

                                                   2
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